        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 1 of 55




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JH, a minor, by and through his parents
and natural guardians,
DAVID and BRIDGET HUMPHREYS
                   Plaintiffs
vs.

DUNMORE SCHOOL DISTRICT,

TIMOTHY HOPKINS, in his Official
and Individual capacities,

CHRIS and SANDI MILLS,
individually and as parents and               CIVIL ACTION
natural guardians of CM, a minor,
                                              JURY TRIAL DEMANDED
GREG and LINDSAY HUNT,
individually and as parents and
natural guardians of MH, a minor,

FRANK and JOLANE SOTTILE,
individually and as parents and
natural guardians of LS, a minor,

GREG and NICOLE WOLFF,
individually and as parents and
natural guardians of JW, a minor,

FRANK and MICHELLE CANTAFIO,
individually and as parents and
natural guardians of CC, a minor
                   Defendants

                                    COMPLAINT

      AND NOW, come the Plaintiffs, DAVID and BRIDGET HUMPHREYS, as

parents and natural guardians of JH, by and through their attorneys, Jason J. Mattioli,

                                          1
           Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 2 of 55




Esquire, Michael J. Ossont, Esquire and David S. Sweetman, Esquire of the Mattioli

Law Firm, and files the following Complaint against DUNMORE SCHOOL

DISTRICT (hereinafter referred to as “Dunmore”); TIMOTHY HOPKINS

(hereinafter “Hopkins”) both in his official and individual capacities, CHRIS MILLS

(hereinafter “C. Mills”) and SANDI MILLS (hereinafter “S.Mills”) (collectively, the

Mills) both individually and as parents and natural guardians of CM, a minor; GREG

HUNT (hereinafter “G. Hunt”) and LINDSAY HUNT (hereinafter “L. Hunt”)

(collectively, the “Hunts”) both individually and as parents and natural guardians of

MH, a minor; FRANK SOTTILE (hereinafter “F. Sottile”) and JOLANE SOTTILE

(hereinafter “J. Sottile”) (collectively, the Sottiles”) both individually and as parents

and natural guardians of LS, a minor; GREG WOLFF (hereinafter “G. Wolff”) and

NICOLE WOLFF (hereinafter “N. Wolff”) (collectively, the “Wolffs”) both

individually and as parents and natural guardians of JW, a minor; FRANK

CANTAFIO (hereinafter “F. Cantafio”) and MICHELLE CANTAFIO (hereinafter

“M. Cantafio”) (collectively the “Cantafios”), both individually and as parents and

natural guardians of CC, a minor and in support thereof avers as follows:

                                  INTRODUCTION

      1.       This action is brought by a minor student, JH, who is eligible for special

education services as a child with disabilities with the Dunmore School District, by




                                            2
           Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 3 of 55




and through his parents David Humphreys (Father) and Bridget Humphreys

(Mother), referred to collectively as Plaintiffs.

      2.       Dunmore as well as Hopkins have violated JH’s Civil Rights under

Section 1983 and the 14th Amendment, and intentionally discriminated against JH, a

handicapped person, and therefore seek damages under the Americans with

Disabilities Act, 42 U.S.C. Section 12111 (ADA) and Section 504 of the

Rehabilitation Act of 1973 (Section 504), 29 U.S.C.A. Section 794, Title IV and

Pennsylvania law.

      3.       Plaintiffs also bring related claims including common law claims for

negligence, intentional infliction of emotional distress, vicarious liability, and breach

of fiduciary duty for the incident where students filmed and disseminated a

pornographic film of the Plaintiff to several other students within Dunmore by Apple

AirDrop, Snapchat, and text messages. Dunmore and its employees were aware of

the students sharing this embarrassing and sensitive video and did little to no

investigation prior to Plaintiffs requesting the Dunmore Police Department

investigate the situation. The Parent Defendants had dominion and control over the

cellular devices used by the minor Student Defendants at the time those devices were

utilized to commit a willful tortious action against the Plaintiff.

      4.       Indeed, further embarrassment, injuries and losses to Plaintiffs could

have been prevented by the exercise of reasonable diligence on the part of


                                           3
           Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 4 of 55




Defendants and were a highly predictable consequence of Defendants’ failure to a

address the use of cellular devices on school property being utilized to send

pornographic videos to students by students in violation of the Plaintiffs rights and

in violation of the Dunmore Student Handbook.

      5.       Dunmore and Hopkins’ failure to take immediate and appropriate action

when made aware of the dissemination of the video horrifically resulted in even

further loss and damage to the Plaintiffs. Defendants caused and/or failed to stop an

attack on the Plaintiffs’ dignity as a human being.

      6.       Plaintiffs hereby respectfully requests that this Honorable Court award

them appropriate compensatory and punitive damages for the Defendants’ egregious

failure to meet their legal obligations to the Plaintiff under the Counts of the

Complaint herein and more fully set forth below.

                                      PARTIES
      7.       Plaintiff, JH is a male and minor individual who resides at 152 Walnut

Street, Dunmore, Lackawanna County, PA 18512.

      8.       Plaintiff, JH, brings this action by and through his parents and natural

guardians, David Humphreys and Bridget Humphreys.

      9.       Both Plaintiff David Humphreys and Bridget Humphreys are adults and

competent individuals residing at 152 Walnut Street, Dunmore, Lackawanna County,

PA 18512.



                                           4
            Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 5 of 55




       10.      At all times material hereto, the Plaintiffs were residents of

Lackawanna County, the Commonwealth of Pennsylvania, located within the

Middle District of Pennsylvania.

       11.      At all times material hereto, the Plaintiff, JH, was enrolled in Dunmore

Middle School, located in Dunmore, Lackawanna County, Pennsylvania, a public-

school entity maintained, operated, and/or controlled by the Dunmore School

District.

       12.      Defendant Dunmore School District is a governmental entity which

pursuant to State law and with receipt of a substantial amount of Federal funds,

provides educational services to school aged children residing in Lackawanna

County, including Dunmore, Pennsylvania. The School District is governed by a

board of directors that is commissioned by the Commonwealth of Pennsylvania to

administer, enforce, inter alia, the statutory mandates of the Individuals with

Disabilities Education Act, 20 U.S.C. Section 1400, et. seq (hereinafter referred to

as “IDEA”) Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. Section 794

(herein referred to as “Section 504”) and other related federally funded programs to

eligible students enrolled in the district. Dunmore School District’s administrative

offices are located at 300 West Warren Street, Dunmore, Lackawanna County, PA

18512.




                                            5
         Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 6 of 55




      13.    Defendant Hopkins is a competent adult individual who resides in

Lackawanna County, Pennsylvania, and during the 2022-2023 school year was

employed by the Dunmore School District as the Middle School Principal with a

business address of 370 West Warren Street, Dunmore, Lackawanna County, PA

18512.

      14.    Defendants Sandi and Chris Mills are the parents and natural guardians

of minor Defendant, CM. They are Defendants in both their individual capacity and

their capacity as the parents and natural guardians of CM. They are both adults and

competent individuals believed to be residing Lackawanna County, Pennsylvania.

      15.    Defendants Greg and Lindsay Hunt are the parents and natural

guardians of minor Defendant, MH. They are Defendants in both their individual

capacity and their capacity as the parents and natural guardians of MH. They are

both adults and competent individuals believed to be residing in Lackawanna

County, Pennsylvania.

      16.    Defendants Frank and Jolane Sottile are the parents and natural

guardians of minor Defendant, LS. They are Defendants in both their individual

capacity and their capacity as the parents and natural guardians of LS. They are both

adults and competent individuals believed to be residing in Lackawanna County,

Pennsylvania.




                                         6
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 7 of 55




      17.    Defendants Greg and Nicole Wolff are the parents and natural guardians

of minor Defendant, JW. They are Defendants in both their individual capacity and

their capacity as the parents and natural guardians of JW. They are both adults and

competent individuals believed to be residing in Lackawanna County, Pennsylvania.

      18.    Defendants Frank and Michelle Cantafio are the parents and natural

guardians of minor Defendant, CC. They are Defendants in both their individual

capacity and their capacity as the parents and natural guardians of CC. They are both

adults and competent individuals believed to be residing in Lackawanna County,

Pennsylvania.

                          JURISDICTION AND VENUE

      19.    This Court has jurisdiction over this action pursuant to 20 U.S.C.

Section 1415(i)(2). Plaintiffs' claims arise from the IDEA and its implementing

regulations, 34 C.F.R. part 300, et. seq.; Section 504 of the Rehabilitation Act of

1973; and Section 1983 of The Civil Rights Act of 1964 (hereinafter referred to as

“Section 1983"), 28 U.S.C.S. Section 1331 provides that United States District

Courts have original jurisdiction over matters where a federal question is raised in

cases arising under the Constitution, laws, or treaties of the United States. 28 U.S.C.

Section 1343 provides that United States District Courts have original jurisdiction

of any civil action to redress the deprivation, under color of any State law, statute,

ordinance, regulation, custom or usage, of any right, privilege or immunity secured


                                          7
            Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 8 of 55




by the Constitution of the United States or by any Act of Congress providing for

equal rights of citizens or of all persons within the jurisdiction of the United States.

This Court exercises supplemental jurisdiction over Plaintiffs' state-law tort claims

pursuant to 28 U.S.C. Section 1367.

       20.      Venue is proper in this Court pursuant to 28 U.S.C. Section 1391(b) as

the Defendants are located in this judicial district and conduct business within this

Judicial District and all Plaintiffs reside and their claims arose within this Judicial

District.

                              FACTUAL BACKGROUND

       21.      At the time of this incident, minor plaintiff JH was a thirteen (13) year

old , seventh (7th) grade male student in the Dunmore Middle School within the

Defendant Dunmore School District.

       22.      Further, JH is eligible for special education services and has disabilities

that impact his life.

       23.      Specifically, JH was diagnosed during the 2015-2016 school year with

Autism Spectrum Disorder (ASD).

       24.      While JH’s education instruction is substantially through a general

education classroom and curriculum, he attends his math and reading classes in a

learning support classroom environment.




                                              8
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 9 of 55




      25.    Additionally, JH utilizes an Autistic Support Classroom for behavioral

check-ins, help with organization, and Itinerant Support as he participates in a

general education setting.

      26.    As an individual with ASD, JH struggles with appropriate social skills,

specifically during the time frame of this incident as he has now entered puberty as

all children do as they grow up.

      27.    Dunmore School District provides students with a handbook that puts

forth the rules and regulations for students who attend Dunmore Middle School.

      28.    The handbook contains the Dunmore Mission Statement which in part

states that “all educational programs shall be safe, enjoyable and challenging,

offering success to their participants” (emphasis added).

      29.    Furthermore, in a statement to parents and students included in the

handbook, Defendant Hopkins states that “[a]s partners, we share the responsibly for

each child’s success and want you to know that we will do everything to carry out

our responsibilities.”

      30.    Additionally, the statement reads that “[i]t is the responsibility of every

student and family to become familiar with our procedures and expectations.”

      31.    Unfortunately, Defendants Dunmore and Hopkins failed to live up to

these expectations.




                                           9
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 10 of 55




      32.    On or about March 3, 2023, Defendant LS used his cellular telephone

to video Plaintiff JH inside of a bathroom stall in the Dunmore Middle School.

      33.    Unfortunately, due to the trouble he has with appropriate social skills

due to his disability and no fault of his own, Plaintiff JH was engaging in

masturbation in the stall.

      34.    As part of his educational program, Plaintiff JH had been working with

his autistic support teacher to overcome these difficulties.

      35.    Still, in a willful, intentional, cruel, and degrading manor, Defendant

LS saved this recording to his cellular telephone in order to utilize the footage to

embarrass and harass his disabled classmate.

      36.    Interestingly, the Handbook provided to students prohibits students

from having their cell phones while in school requiring that upon entering the school,

students must place all electronic devices in their locker or in device holders in their

classrooms while they are in that particular class.

      37.    Clearly, Defendants the Dunmore School District or Hopkins did not

enforce this as LS had his cellular phone while he was on school property, during

school hours.

      38.    Furthermore, in an effort to “safeguard[] against inappropriate

invasions of persons privacy rights,” the Handbook also prohibits the taking of

videos and/or photographs of other students without their consent.


                                          10
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 11 of 55




      39.    Clearly, this portion of the Handbook was not being enforced by

Defendants Dunmore or Hopkins.

      40.    Shockingly, Defendant LS then disseminated the video via Apple

AirDrop making it available to anyone with an Apple iPhone in the area.

      41.    AirDrop is a capability of an Apple iPhone that allows a user to share

data with BLE technology. In other words, at the touch of a button, the sharer has

the ability to make data and media available to anyone who is in range of their

cellular device.

      42.    When considering the effective range of AirDrop, the range is not a

fixed distance but can reasonably be considered to reach ten (10) meters in most

cases to 100 meters in every direction from the device that is sharing the data.

      43.    Defendant LS made the video file of Plaintiff JH available to anyone

with an iPhone within at least ten (10) meters but potentially up to 100 meters in all

directions, including above or below him on different floors.

      44.    In this day and age, it is logical if not certain that several faculty and

staff of the Dunmore School District utilize Apple iPhones.

      45.    It is therefore reasonable to suggest that Defendants Dunmore and

Hopkins had knowledge of the video on March 3, 2023, as it was disseminated by

LS over Apple Air Drop.




                                          11
       Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 12 of 55




      46.    However, it was not until Friday, March 31, 2023 that Plaintiffs David

and Bridget Humphreys were informed about the possibility of the video existing

and being shared amongst students.

      47.    On March 31, 2023, Plaintiff JH’s autistic support teacher was

approached by another teacher, who had not previously been aware of the video, to

report that she had overhead students near the entrance of her classroom stating that

they had a video of JH masturbating in one of the stalls in the boy’s bathroom. It was

decided that the administration was to be informed immediately.

      48.    Hopkins, now knowing that an official report was made by faculty, was

without excuse as to his knowledge of the video.

      49.    After informing Defendant Hopkins and the School Resource Officer

(SRO) Springer of what they had heard, an alleged investigation began.

      50.    Once informed by JH’s autistic support teacher of the report, Plaintiffs

David and Bridget Humphreys went to the school to speak to administration.

      51.    Once at the school’s administration building, the Plaintiff parents met

with Defendant Hopkins, who informed JH’s parents that they were able to track,

through something called an ePass system, who would have been in the boy’s

bathroom at the same time JH was there.




                                          12
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 13 of 55




      52.    Hopkins told Plaintiff parents that it was narrowed down to one student,

that student was brought in by Hopkins, questioned, Hopkin’s was given consent to

look at the student’s phone to look for the video and no video was located.

      53.    Based on this simplistic and lackadaisical investigation, Hopkins

blatantly lied to Plaintiff Parents telling them that there was really nothing else that

could be done to ensure that there was no video of their son out there or anyway to

find out who had the video.

      54.    Plaintiff Parents brought up concerns about students being able to

utilize cell phones in violation of the Handbook without any enforcement or

consequences to no avail.

      55.    Defendants Dunmore and Hopkins had a duty to ensure the safety,

security, dignity, and integrity of JH’s educational setting, specifically where a

student was being harassed, embarrassed and the subject of criminal activity by other

students based on his disability.

      56.    Hopkins only looked at a student’s phone, asked him some questions

and simply took what was told to him as gospel in an attempt to “sweep” the incident

“under the rug.”

      57.    Plaintiff parents did not feel comfortable with that outcome and reached

back out to the school and subsequently to SRO Springer.




                                          13
       Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 14 of 55




      58.   Based on a conversation with SRO Springer, he conducted further

investigation into the potential criminal act of students at Dunmore Middle School.

      59.   On April 4, 2023, SRO Springer informed Plaintiff Parents that he had

located the video on four student’s phones.

      60.   At this point, no students were suspended or disciplined for their

involvement with utilizing cellular phones on Dunmore property in violation of the

Handbook.

      61.   Through law enforcement’s investigation of the incident, four student’s

cell phones were found to contain the video of JH masturbating in the boy’s

bathroom, those students were Defendants CM, MH, LS, and JW.

      62.   CM a minor, did not have the capacity to enter into a contract for

cellular phone service. As such, it is believed that Defendants C. Mills and/or S.

Mills had dominion and/or control over the use of the cellular device in Defendant

CM’s possession.

      63.   Furthermore, as CM’s parents, the Mills had the ability and duty to

supervise how CM utilized his cellular device and failed to do so.

      64.   MH a minor, did not have the capacity to enter into a contract for

cellular phone service. As such, it is believed that Defendants G. Hunt and/or L.

Hunt had dominion and/or control over the use of the cellular device in Defendant

MH’s possession.


                                         14
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 15 of 55




      65.     Furthermore, as MH’s parents, the Hunts had the ability and duty to

supervise how MH utilized his cellular device and failed to do so.

      66.     LS a minor, did not have the capacity to enter into a contract for cellular

phone service. As such, it is believed that Defendants F. Sottile and/or J. Sottile had

dominion and/or control over the use of the cellular device in Defendant LS’s

possession.

      67.     Furthermore, as LS’s parents, the Sottile’s had the ability and duty to

supervise how LS utilized his cellular device and failed to do so.

      68.     Again, JW a minor, did not have the capacity to enter into a contract for

cellular phone service. As such, it is believed that Defendants G. Wolff and/or N.

Wolff had dominion and/or control over the use of the cellular device in Defendant

JW’s possession.

      69.     Furthermore, as JW’s parents, the Wolff’s had the ability and duty to

supervise how CM utilized his cellular device and failed to do so.

      70.     In addition to the sharing of the video through airdrop, it was also found

to have been shared through the social media application snapchat by CM to a group

labeled “guerilla warfare” and it was confirmed that the video was shared with at

least nineteen (19) other individuals who were members of that group.

      71.     Further law enforcement analysis uncovered text messages between LS

and CC on March 3, 2023 where CC states “Yo send me the vid of the sped kid jerkin


                                           15
          Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 16 of 55




off”, and another text from CC on March 7, 2023 stating, “send me the vid of [JH]

jackin in the bathroom”. The video was located as being sent to CC from LS on those

dates.

         72.   CC, a minor, did not have the capacity to enter into a contract for

cellular phone service. As such, it is believed that Defendants F. Cantafio and/or M.

Cantafio had dominion and/or control over the use of the cellular device in

Defendant CC’s possession.

         73.   Furthermore, as CC’s parents, the Cantafios had the ability and duty to

supervise how CC utilized his cellular device and failed to do so.

         74.   For reasons unknown to the Plaintiffs, SRO Springer was removed from

the investigation and Det. Michael Lydon of the Dunmore Police Department took

over.

         75.   In addition to CM, MH, LS, and JW, nineteen (19) other peers were

specifically identified as receiving the video by law enforcement.

         76.   Those individuals were all interviewed and told investigators that they

did receive the video but stated, without further review of their cell phones or an

internal investigation by Defendants Dunmore School District and/or Hopkins, that

they did not retain the video.

         77.   Their words were simply taken as truth without any regard for the safety

and/or personal security of JH.


                                           16
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 17 of 55




       78.    It was not until August 23, 2023 that juvenile petitions in Lackawanna

County were filed against CM, MH, LS, and JW. Over five (5) months from when

Dunmore and Hopkins were aware of the existence of the video.

       79.    It is believed that all minor Defendants involved are still enrolled or

have reenrolled in the Dunmore School District, forcing JH’s educational

environment to remain hostile.

       80.    The actions of Dunmore, at all times relevant herein were conducted

willfully, wantonly, and maliciously with reckless disregard as to the consequences

as to reveal a conscious indifference to the rights and establishes intentional

discrimination because of intentional and/or deliberate indifference toward

Plaintiff’s disability.

       81.    Given the incidents that occurred at Dunmore Middle School as

described herein, the failure of the School District and Hopkins to enforce the

Handbook rules and regulations among its student population, created a dangerous

environment for Plaintiff JH.

       82.    Furthermore, while it is alleged Dunmore and Hopkins knew of the

video on March 3, 2023, they were certainly made aware by other faculty on March

31, 2023 and did nothing to seek out and remove those students who were

discriminating against JH and disseminating illegal videos of JH from JH’s

educational environment.


                                          17
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 18 of 55




      83.      Nothing was done to stop the minor Defendants from discriminating,

harassing, or utilizing cellular devices in violation of the Handbook against other

students in the Dunmore School District, specifically in this case, JH.

      84.      In fact, other incidents involving students discriminating and harassing

JH occurred.

      85.      On or about January 4, 2024, as JH was being picked up from school

by his father David, a group of male students began yelling the phrase “Beat it”

toward JH, clearly in reference to the video that had been disseminated on

Defendants’ Dunmore and Hopkins watch.

      86.      While Plaintiffs Bridget and David Humphreys were told that the

incident was investigated, no students were disciplined or addressed as laid out in

the Student Handbook, even though several staff and teachers were outside the

school at the time of the incident.

      87.      Defendants Dunmore and Hopkins clearly had and/or have a policy

and/or custom of ignoring actual knowledge of violations of JH’s rights by both the

District and other students, and failing to appropriately investigate situations where

inappropriate conduct was reported and/or suggested; ignoring its mandatory

reporting obligation; and discouraging teachers and students from reporting abuses

in an effort to protect themselves and their respective administrators, teachers,

employees, and students from scandal, adverse publicity and/or accountability.


                                           18
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 19 of 55




                    COUNT I -VIOLATION OF CIVIL RIGHTS
                      42 U.S.C. Section 1983 and the I.D.E.A.
              Plaintiffs, David Humphreys and Bridget Humphreys,
                as parents and Natural Guardians of Minor, JH v.
            Defendants Dunmore School District and Timothy Hopkins

      88.     The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      89.     Upon information and belief, the Defendants have failed to provide

Student with a free appropriate public education.

      90.     As a further result, the Defendant's failure to implement a proper

behavior management plan, failure to hire trained individuals in caring and

instructing special needs and autistic children and the defendant's failure to properly

place JH in an appropriate setting where he would be free from physical abuse,

mental abuse, and or harassment by other students, Plaintiffs will have to incur

additional expenses for medical and educational services.

      91.     The Defendants' failure to provide JH with a free appropriate education

is a systematic legal violation which violates Student's civil rights.

      92.     Defendants owed JH a duty to provide free appropriate public education

under IDEA, 20 U.S.C. § 1400 et. seq.

      93.     Defendants further owed JH a duty to ensure that he would receive

educational services in a least-restrictive environment.

      94.     Defendants also owed JH a duty of care to refrain from physical and


                                          19
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 20 of 55




mental abuse adequately in accordance with IDEA and the Pennsylvania Code.

       95.    Defendants breached the duties described above by allowing other

students to violate the rules and regulations of the Handbook, to which Defendants

knew or should have known could lead to incidents like the one that has occurred

here violating the Constitutional Rights of Plaintiff, JH.

       96.    At all times material and relevant hereto, the actions and/or inactions of

all Defendants were performed under color of state law while acting in their official

capacities.

       97.    Defendants Dunmore and Hopkins caused the harm complained of

herein in violation of IDEA and Civil Rights Act, 42 U.S.C. § 1983.

       98.    The actions by the Defendants constitute a pattern and practice of

failing to provide students with special needs and entitled to individual education

plans (IEPs), and JH in particular, an appropriate education for his educational needs

while protecting his privacy, bodily integrity, and dignity as an individual with a

disability.

       99.    Plaintiff JH avers that Defendants had and have unconstitutional

customs, policies and practices of failing to investigate evidence of School District

employees failure to enforce rules and regulations in place along with failing to

appropriately investigate misconduct, abuse and or harassment against Dunmore

students by other Dunmore students in the nature of violations of their rights to


                                           20
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 21 of 55




personal security, bodily integrity, as well as their right to be free from misconduct

and/or abuse and/or harassment and/or discrimination, and failing to adequately

supervise and train School District employees with regard to mandatory reporting

obligations and maintaining, preserving and protecting students from violations of

their right to personal security and bodily integrity.

       100. The conduct of Defendants, by and through their agents, employees,

servants and officers and other School District personnel, as set forth above, acting

under color of state law, in failing to put in place and enforce policies to adequately

protect students from inappropriate conduct, was committed in deliberate and/or

conscious disregard of the substantial and/or unjustifiable risk of causing harm to JH

and was such as to shock the conscious. Said conduct was the cause of JH’s harm.

       101. Plaintiff JH avers that the School District, by and through their agents,

employees, servants and officers and other School District personnel, followed these

unconstitutional policies, customs, and practices with regard to himself as hereafter

set forth.

       102. The Defendants' actions constitute a conscious disregard for the

plaintiff's student's rights to a free appropriate public education.

       103. The Defendants' actions were conducted willfully, wantonly, and

maliciously and with such reckless disregard for the consequences as to reveal a

conscious indifference to JH's rights to a free appropriate public education.


                                           21
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 22 of 55




      104. As a result of the above-described violations, JH suffered damages.

      105. The conduct described above violated Plaintiff, JH’s Constitutional

right to Substantive Due Process and his right to be free from invasion of his personal

security and/or his right to bodily integrity, as guaranteed by the 14th amendment of

the United States Constitution and as remediable by 42 U.S.C. Section 1983.

      106. Dunmore School District by and through their agents, employees,

servants and officers and other School District personnel, is a policymaker for the

purpose of implementing School District policies and customs.

      107. As a direct and proximate result of the above stated acts and omissions,

Plaintiff JH has suffered such harm as has been previously stated here in for which

he is entitled to be compensated.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Timothy Hopkins, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.


             COUNT II -VIOLATION OF THE 14TH AMENDMENT
             Plaintiffs, David Humphreys and Bridget Humphreys,
               as parents and Natural Guardians of Minor, JH v.
           Defendants Dunmore School District and Timothy Hopkins

      108. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.



                                          22
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 23 of 55




      109. The Defendants' conduct in failing to provide JH with a free appropriate

public education constitutes unlawful discrimination against JH and other children

who receive and/or are entitled to special education including children on the autism

spectrum in violation of the equal protection clause of the 14th amendment and in

violation of due process contrary to the 14th amendment to the United States

Constitution.

      110. The above-described actions of the Defendants were the direct and

proximate cause of Student's injuries previously mentioned.

      111. By reason of the aforesaid, JH's civil rights were violated as guaranteed

by federal statutes.

      112. As a result of the above-described violations, Plaintiffs have suffered

damages.

      113. By reason of the aforesaid, including the conduct of the Defendants

herein, the same shocks the conscience, so as to show minor JH's Civil Rights were

violated as guaranteed by the federal statutes.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Timothy Hopkins, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.




                                          23
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 24 of 55




       COUNT III -INDIVIDUALS WITH DISABILITY EDUCATION ACT
                           20 U.S.C. §1400 ET. SEQ.
           Plaintiffs, David Humphreys and Bridget Humphreys,
             as parents and Natural Guardians of Minor, JH v.
         Defendants Dunmore School District and Timothy Hopkins

       114. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

       115. The Defendants have violated the rights of the named Plaintiffs under

the Individuals with Disability Education Act (IDEA), 20 U.S.C. § 1400 et. seq. by

failing to identify, evaluate, and provide the minor students, specifically in this case

J.H., with a free appropriate public education and by allowing others to harass,

mentally abuse and violate his personal integrity and dignity based on his disability

as more particularly described above without JH's consent and in disregard to the

law.

       116. As a result of the above-described violations, JH suffered damages.

       WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Timothy Hopkins, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.




                                          24
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 25 of 55




            COUNT IV – VIOLATION OF THE AMERICANS WITH
                            DISABILITIES ACT (ADA)
                             42 U.S.C. §12100 ET. SEQ.
             Plaintiffs, David Humphreys and Bridget Humphreys,
               as parents and Natural Guardians of Minor, JH v.
                       Defendant Dunmore School District

      117. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      118. The ADA provides that "no qualified individual with a disability shall,

by reason of such disability, be excluded from participation in or be denied the

benefits of the service, programs, or activities of a public entity, or be subjected to

discrimination by any such entity." 42 U.S.C. § 12132.

      119. JH is disabled. He is a student with special needs who has documented

disabilities which affect several major life activities.

      120. Despite his disabilities, JH was, at all times relevant hereto, a student

who is otherwise qualified to participate in defendant Dunmore's educational

programs with appropriate instruction, accommodation and/or supplemental

services and supports for the purposes of the ADA.

      121. Defendant Dunmore failed to provide JH with appropriate educational

and related services, accommodations and/or supplemental supports and services

which he required in order to have proper access to Dunmore’s programs and

services to make appropriate developmental and educational progress equal to that

provided to children who are not disabled or who do not have such disabilities.

                                           25
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 26 of 55




      122. Dunmore's failure to provide a safe, appropriate educational

environment to JH, and its failure to properly accommodate his disabilities, has

exacerbated the impact of his disabilities, interfered with his ability to communicate

with others, and to meaningfully participate with typically developing peers.

Dunmore’s failure has also deferred JH's ability to be engaged and be included in

age-appropriate social, educational, and vocational programs, to take advantage of

opportunities and services to which he would have had access if he had received

appropriate related services and accommodations in a timely and effective manner.

Therefore, Dunmore's failure excluded JH from participating in the mainstream

environment of his school, his community, his family and to equal access to

educational benefits, as enjoyed by his non- disabled classmates in safety based on

the needs of his specific disability, ASD.

      123. Dunmore owed Student the duty of care to refrain and protect him from

harassment, embarrassment and a degradation of his dignity based on his disability

in accordance with the ADA, and specifically, owed him the duty to be free of

discrimination and abuse because of his disabilities.

      124. Upon information and belief, Dunmore discriminated against JH

because of his disabilities, as set forth herein, and further by failing to provide him

with the same protections and opportunities that other students were provided, and

by failing to protect him from the improper, cruel, and abusive treatment he suffered


                                             26
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 27 of 55




as a result of his disabilities.

       125. Dunmore, at all times relevant hereto, was aware that as a child with

disabilities, JH had the right to be free of discrimination in the provision of his

education, and despite that knowledge, Dunmore failed to ensure that improper

actions by other students would not be perpetrated upon JH and when those improper

activities did occur, failed to properly investigate those allegations based on JH’s

disability.

       126. Furthermore, it is clear that Dunmore and its agents, servants and

employees knew that violations of the Handbook were occurring and that that could

reasonably lead to occurrences like the cruel and discriminatory treatment by other

students, at Dunmore Middle School, yet Dunmore failed to properly train and

supervise its staff, and failed to ensure that staff assigned to student were properly

trained and supervised, allowing the current instance to take place.

       127. Dunmore was deliberately indifferent to JH's federally protected right

to be free from discrimination in his education, as well as his federally protected

right to be provided a Free Appropriate Public Education (FAPE).

       128. In placing JH in an educational environment in which he would be

subject to his privacy being invaded and his dignity destroyed by allowing other

students to blatantly violate Dunmore’s own Rules in Regulations in place to protect

students like JH, Dunmore knew or should have known that JH's rights were likely


                                         27
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 28 of 55




to be violated.

       129. In failing to provide an appropriate education, and to meet the

educational needs of JH, a disabled student, as adequately as it met the needs of non-

disabled students, Dunmore intentionally discriminated against JH because of his

disabilities.

       130. In failing to provide an appropriate education, and to meet the

educational needs of JH, a disabled student, as adequately as it met the needs of non-

disabled students, Dunmore was deliberately indifferent to JH's right to be free of

discrimination because of his disabilities.

       131. Dunmore's actions constituted discrimination against him, on the basis

of his disability, in violation of the ADA.

       132. As a result of these violations, as set forth herein, JH suffered damages.

       WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendant, Dunmore School District, with an award of compensatory damages,

interest, costs of suit, plus punitive damages, and such other relief as the Court deems

necessary and appropriate.




                                          28
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 29 of 55




                 COUNT V – VIOLATION OF SECTION 504 OF THE
                                REHABILITATION ACT
                                 29 U.S.C. §794 ET. SEQ.
                Plaintiffs, David Humphreys and Bridget Humphreys,
                  as parents and Natural Guardians of Minor, JH v.
                          Defendant Dunmore School District

       133. Plaintiffs incorporate by reference the preceding paragraphs, including

specifically all of the paragraphs in Count I, as though set forth fully at length.

       134. The Rehabilitation Act provides that "no otherwise qualified individual

with a disability... shall, solely by reason of his or her disability, be excluded from

the participation in, be denied the benefits of, or be subjected to discrimination under

any program or activity receiving federal financial assistance" 29 U.S.C. § 794(a).

       135. As a local educational agency, Dunmore receives federal financial

assistance.

       136. In failing to provide an appropriate education, and to meet the

educational needs of JH, a disabled student, as adequately as it met the needs of non-

disabled students, Dunmore intentionally discriminated against JH because of his

disabilities.

       137. In failing to provide an appropriate education, and to meet the

educational needs of JH, a student with a disability, as adequately as it met the needs

of non-disabled students, Dunmore was deliberately indifferent to JH's right to be

free of discrimination because of his disabilities.




                                           29
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 30 of 55




      138. As set forth in detail in Count II, Dunmore's actions constituted

discrimination against him on the basis of his disability in violation of Section 504

of the Rehabilitation Act.

      139. As a result of these violations, as set forth herein, JH suffered

considerable damages as requested in the prayer for relief.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendant, Dunmore School District, with an award of compensatory damages,

interest, costs of suit, plus punitive damages, and such other relief as the Court deems

necessary and appropriate.

            COUNT VI – DISCRIMINATION PURSUANT TO TITLE IX
                               (20 U.S.C. § 1681, et. seq.)
              Plaintiffs, David Humphreys and Bridget Humphreys,
                as parents and Natural Guardians of Minor, JH v.
            Defendants Dunmore School District and Timothy Hopkins

      140. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      141. The failure of Dunmore School District and Hopkins to enforce

policies and procedures set in place to protect students like JH and others, as set

forth herein, was so severe that the Plaintiff JH, was deprived of access to

educational opportunities and/or benefits provided by the Dunmore School

District.

      142. Dunmore School District and Hopkins created and/or subjected to the


                                          30
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 31 of 55




Plaintiff, JH, to a hostile educational environment in violation of Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681(a) (hereinafter referred to

as “Title IX”).

       143. At all times material hereto, the Plaintiff JH, was a member of a

protected class.

       144. At all times material hereto, Plaintiff JH was subjected to an unsafe

and hostile educational environment for a student with a disability such as

ASD.

       145. At all times material hereto, the Plaintiff JH, was subjected to

having an explicit video taken of him and disseminated to several students

in the form of discrimination by the District Defendants in their failure to

enforce policies and procedures students and parents alike were ensured

would be in place.

       146. At all times material hereto, JH was subject to harassment based on

his disability.

       147. At all times material hereto, Plaintiff JH, was subjected to a hostile

educational environment created by Dunmore and Hopkin’s, either individually

and/or jointly, lack of policies and procedures, and failure to properly

investigate and/or address the lack of enforcement of policies and procedures

students and parents were told were in place.


                                        31
       Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 32 of 55




      148. Upon information and belief, Dunmore, and Hopkins, either

individually and/or jointly, by and through its agents, servants, administration,

and/or employees, had actual knowledge of the harassment of Plaintiff JH.

      149. Dunmore and/or Hopkins’ failure to promptly and appropriately

respond to the harassment which resulted in the Plaintiff JH, on the basis of

his disability, being denied the benefits of a safe, secure, and non-hostile

education setting and being subjected to discrimination in the Dunmore

School District's education programs in violation of Title IX.

      150. Dunmore and/or Hopkins, either individually and/or jointly, failed

to take immediate and effective remedial steps to resolve the complaint that a

video, both pornographic in nature and in harassment of Plaintiff JH based on

his disability and instead acted with deliberate indifference towards the Plaintiff,

JH.

      151. Dunmore and/or Hopkins, either individually and/or jointly,

persisted in their actions and inactions even after it has actual knowledge of

the harm suffered by the Plaintiff, JH.

      152. Thus, Dunmore and/or Hopkins, either individually and/or jointly,

engaged in a pattern and practice of unlawful behavior designed to discourage

and dissuade students, such as JH, and the parents of students who had been

harassed, embarrassed and had his dignity stripped from him from seeking


                                        32
       Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 33 of 55




prosecution and protection, and from seeking to have this incident fully

investigated.

      153. The unlawful policy and practice of Dunmore and/or Hopkins,

either individually and/or jointly, as set forth herein, constituted disparate

treatment of disabled students and had a disparate impact on disabled students.

      154. As the direct and proximate result of the actions and inactions of

Dunmore and/or Hopkins, either individually and/or jointly, JH, has sustained

the injuries and damages.

      155. Dunmore and/or Hopkins, either individually and/or jointly, acted

with deliberate indifference with respect to addressing harassment that they

knew had and was occurring.

      156. JH's, educational experience was thereafter permeated with

discriminatory intimidation, ridicule, embarrassment, and insult that was

sufficiently so severe and/or pervasive so as to alter the conditions of the JH’s

educational environment.

      157. As the direct and proximate result of Dunmore and/or Hopkins’

conscious, deliberate and/or intentional actions and/or omissions, either

individually and/or jointly, JH has suffered, and will continue to so suffer,

indefinitely into the future.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against


                                       33
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 34 of 55




Defendant, Dunmore School District, with an award of compensatory damages,

interest, costs of suit, plus punitive damages, and such other relief as the Court deems

necessary and appropriate.

                        COUNT VII- 42 U.S.C. Section 1983 –
                     FAILURE TO TRAIN AND SUPERVISE
             Plaintiffs, David Humphreys and Bridget Humphreys,
               as parents and Natural Guardians of Minor, JH v.
                       Defendant Dunmore School District

      158. Plaintiff incorporates the previous paragraphs of this complaint as if

fully set forth at length herein.

      159. Dunmore along with their teachers, administrators, officers, board

members, agents, and employees of Defendant were state actors working for

Defendant and received federal funding at all times relevant hereto.

      160. Dunmore along with their teachers, administrators, officers, board

members, agents, and employees of Defendant acted under color of state law at all

relevant times herein.

      161. Prior to and during the incident involving JH, Dunmore and other

employees and officials of the School District knew about the blatant violations of

the Handbook rules and regulations regarding the use of cellular devices within the

school building and knew or should have known that in failing to enforce their own

rules and regulations that an incident like the one involving JH that gives rise to this

suit was likely to happen. Nonetheless, no appropriate, effective, or adequate steps


                                          34
       Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 35 of 55




were taken to protect JH.

      162. During the period of the incident, Dunmore and other school employees

and officials of the School District became aware that a video was being

disseminated via AirDrop throughout the Dunmore Middle School and that students

were in violation of the Handbook. However, no proper inquiries were made, and no

corrective action was taken leading to further dissemination of the inappropriate and

cruel video taken of JH without his consent.

      163. Dunmore and their teachers, administrators, officers, board members,

agents and or employees knew or should have known that their response to any

abuse, harassment, or discrimination allegations must comply with federal law.

      164. Dunmore failed to properly train and supervise their teachers,

administrators, officers, agents, and/or employees as to mandated investigative

requirements, which include:

             a. failing to take immediate and appropriate action to investigate or

                otherwise what occurred once informed of possible violations;

             b. failing to take prompt and effective steps to end the abuse, prevent

                its recurrence, and address its effects;

             c. failing to promptly report abuse and/or harassment of students

                including plaintiff JH, in accordance with their legal obligations;

                and


                                          35
         Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 36 of 55




             d. failing to take reasonable and necessary steps to protect JH and other

                 minor students from abuses, violations and/or from suffering

                 collateral harms and injuries as described above.

      165. Dunmore's failure to train their teachers, administrators, officers, board

members, agents, and/or employees to deal with actual, apparent, or suspected

criminal activity that is the direct, legal, and proximate cause of the harm suffered

by JH.

      166. Dunmore's failure to provide proper and adequate training to their

teachers, administrators, officers, agents, and/or employees constituted deliberate

indifference to the presence of excessive risk of danger to the health, welfare, and

safety of students at the Defendant School District, including Plaintiff JH.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District, and/or Timothy Hopkins, with an award of

compensatory damages, interest, costs of suit, plus punitive damages, and such other

relief as the Court deems necessary and appropriate.


                                  COUNT VIII
                             VICARIOUS LIABILITY
             Plaintiffs, David Humphreys and Bridget Humphreys,
               as parents and Natural Guardians of Minor, JH v.
           Defendants Dunmore School District and Timothy Hopkins

      167. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.


                                         36
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 37 of 55




      168. Dunmore held Hopkins out to be a trusted administrator and principal,

specifically having him place a statement in the Handbook of rules and regulations.

      169. At all times material and relevant hereto, Hopkins was acting as an

agent, servant, and/or employee of Dunmore, in performing the duties and functions

empowered to him as a principal for the School District.

      170. In the course of performing his duties and functions, Hopkins utilized

the power, authority, and trust conferred upon him by virtue of his position as a

principal.

      171. While acting within the scope of his employment with Dunmore,

Hopkins failed to appropriately investigate actions of minor students which was in

violation of the previously described statutory and Constitutional rights of Plaintiff,

JH, a disabled minor and these actions and/or inactions were committed with the

apparent authority of the Defendant Dunmore School District.

      172. By nature of the agency relationship between Dunmore, and by virtue

of the frequent and consistent communication between defendants, Hopkins and

other employees and/or administrators, Hopkins knew and had reason to know of

the violations against JH.

      173. During the relevant time frame from March of 2023 through August

2023, including the 2022-2023 school year, in which Hopkins was principal had day-

to-day control over the manner of the enforcement of both the Handbook regulations


                                          37
          Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 38 of 55




and Dunmore’s compliance with the statutory and Constitutional provisions alleged

to have been violated here and how those objectives were accomplished within the

Dunmore Middle School.

         174. In light of the aforementioned notice of violations against Plaintiff, JH,

and in light of the complete lack of supervision over Dunmore’s employees in

enforcing sham policies in place to create a façade of protection for students like JH,

it is not unexpected by Dunmore or Hopkins that such an incident could and did

occur.

         175. The tortious conduct of Hopkins, as more fully set forth in this

Complaint, was directly related to his employment with Dunmore as a principal.

         176. As such, Dunmore is vicariously liable for the tortious actions of

Defendant Hopkins and/or any other employee.

         WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore, and Timothy Hopkins, jointly and severally, with an award

of compensatory damages, interest, costs of suit, plus punitive damages, and such

other relief as the Court deems necessary and appropriate.




                                            38
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 39 of 55




                                   COUNT IX
                                 NEGLIGENCE
             Plaintiffs, David Humphreys and Bridget Humphreys,
               as parents and Natural Guardians of Minor, JH v.
           Defendants Dunmore School District and Timothy Hopkins

      177. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      178. At all times material and relevant hereto, Hopkins was acting in the

scope and authority of his employment within Dunmore.

      179. Hopkins was required, as per the Department of Education, to maintain

his professional certificates, and keep the same current and active.

      180. The Pennsylvania Department of Education, through its teachers'

certification process ensures that teachers, administrators, and counselors are

properly trained.

      181. At all times material and relevant hereto, the teachers, administrators,

and counselors of Dunmore were also responsible for ensuring that each of its

employees were adequately trained.

      182. Under Pennsylvania law, Section 504 and the ADA, the School District,

by and through its agents, servants and employees breached the following duties

herein included.

      183. The negligence, carelessness and recklessness of Dunmore constituted

of the following:


                                         39
Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 40 of 55




    a. Failure to properly supervise subordinates;

    b. Failure to comply with federal, state and school district statutes,

       laws, regulations, policies, practices, and customs.

    c. Failure to endeavor to maintain the health, safety, and welfare for

       the students;

    d. Failure to arrange for the creation, revision and publication of the

       schools’ regulations, policies, and procedures;

    e. Failure to hold in-service training;

    f. Failure to collaborate with teachers and supervisors to ensure

       education programs are delivered to each student consistent with the

       teachers' lesson plans as may be individualized education or

       program;

    g. Failure to ensure that students state created right to a free and

       appropriate public education was not denied, absent due process of

       law;

    h. Failure to ensure that all students with disabilities as well as those

       without are treated equally under applicable local, state, and federal

       policies, rules, regulations, and statutes;

    i. Failure to ensure that JH’s educational plan was adequate to meet

       his needs, and that his program was safe, appropriate, and properly


                                 40
           Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 41 of 55




                   supervised, free from unreasonable and foreseeable risks of harm

                   and provided a proper grouping of students;

                j. Failure to supervise the district staff, its program, plaintiff JH and

                   other students;

                k. Failing to exercise reasonable care under all the existing

                   circumstances.

                l. Failing to appropriately investigate claims of harassment, invasion

                   of privacy and criminal acts committed upon a student, specifically

                   a student with a disability, by other students under their dominion

                   and control.

          184. The negligence, carelessness, and/or recklessness of Dunmore, by and

through its agents and/or employees, as outlined above, was the proximate cause of

the injury sustained by JH as outlined herein.

          185. As a result of the negligence, careless and/or recklessness of Dunmore,

by and through its agents and/or employees, as described herein, and the individual

Defendants, JH was filmed, without his consent in a pornographic manner; that video

was disseminated throughout the Dunmore Middle School and Dunmore Jr/Sr. High

School, and Dunmore failed to immediately and appropriately protect the rights of

JH based on his disability and Plaintiff suffered damages as a direct and proximate

result.


                                            41
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 42 of 55




      186. By reason of the negligence, carelessness, and recklessness of

Dunmore, by and through its agents and/or employees as described above JH has

sustained serious and permanent personal injuries, as a result of which he has

suffered and yet suffers and shall continue to suffer for an indefinite period of time

into the future.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Timothy Hopkins, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.

                                   COUNT X
                              BREACH OF CONTRACT
              Plaintiffs, David Humphreys and Bridget Humphreys,
                as parents and Natural Guardians of Minor, JH v.
                        Defendant Dunmore School District

      187. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      188. Dunmore and Hopkins, either individually and/or jointly, by and

through their agents, servants, administration, and/or employees, breached the

Dunmore Middle School 2022-2023 Student Handbook when they wholly neglected

to do and perform certain things which were expressly or by implication required to

be done and performed.




                                         42
       Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 43 of 55




      189. The Dunmore Middle School Student Handbook operates as a valid and

binding contract by and between Dunmore and the students in Defendants' District,

such as the minor-Plaintiff, JH. A true and correct copy of the 22-23 Student

Handbook is attached hereto and marked as Exhibit “A”.

      190. The material omissions and/or failures of the District Defendants, either

individually and/or jointly, by and through their agents, servants, administration,

and/or employees, consisted of, but are not limited to, the following:

             a. Failing to conduct an immediate formal investigation of the

                allegation that harassment, bullying and/or criminal activity had

                taken place with JH as the victim;

             b. Failing to inform the minor-Plaintiff, JH through his parents and

                natural guardians, of his rights and of the complaint process;

             c. Failing to prepare a written report summarizing the investigation

                and recommending disposition of the complaint;

             d. Failing to take prompt corrective action to ensure that continued

                harm to Plaintiff JH would not occur;

             e. Failing to abide by the JH’s, Educational Plan;

             f. Failing to abide by the JH's, Service Agreement in violation of the

                Rehabilitation Act of 1973 (20 U.S.C.A, § 794):

             g. Failing to protect JH, as a victim of violations of both his rights and


                                          43
       Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 44 of 55




               the Student Handbook;

            h. Failing to expel, remove or transfer minor Defendants immediately

               for acts constituting expellable offenses under the Student

               Handbook;

            i. Failing to act in accordance with the Public-School Code as

               identified in the Student Handbook;

            j. Failing to act in accordance with Title IX as identified in the Student

               Handbook.

       191. The Dunmore and Hopkins, either individually and/or jointly, by and

through their agents, servants, administration, and/or employees, have refused, and

continue to so refuse, to cure the aforementioned breaches, despite Plaintiffs

repeated demands.

      192. As the direct and proximate result of the above breaches, the Plaintiff

has been damaged in an amount to be determined at trial.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Dunmore School District and Timothy Hopkins, jointly and severally,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.




                                         44
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 45 of 55




                                   COUNT XI
                         NEGLIGENT ENTRUSTMENT
            Plaintiffs, David Humphreys and Bridget Humphreys,
              as parents and Natural Guardians of Minor, JH v.
      Chris Mills, Sandi Mills, Greg Hunt, Lindsay Hunt, Frank Sottile,
    Jolane Sottile, Greg Wolff, Nicole Wolff, Frank Cantafio and Michelle
                     Cantafio, in their individual capacities

      193. Plaintiff incorporates the previous paragraphs of this complaint as if

fully set forth at length herein.

      194. In today’s day and age, where almost daily, we see individuals,

specifically minors, attempting to gain fame via the internet and social media

applications through dangerous or criminal acts, it is not unreasonable to think that

minors who are provided cellular telephones could attempt to utilize the camera

and/or unrestricted access to social media applications and phone capabilities,

including but not limited to Airdrop, text messaging and Snapchat, could potentially

be utilized by minors to cause harm to others.

      195. The stories of cellular telephones being utilized in these types of

situations are glorified by social media, the news media, and other media outlets.

      196. It is almost impossible to be immune to the fact that cellular phone

usage by minors is potentially dangerous and harmful to not only the minor child

entrusted with the phone but to those who can be recorded via photograph or video,

or what the child can be exposed to when allowed by the owner of the phone to have

unrestricted access to the internet and communication with others.


                                         45
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 46 of 55




       197. Daily we see the harm that can be caused by minors and their utilization

of what was once a way to maintain contact with family members or to let others

know you are safe have turned into handheld computers that give you access around

the world all while sitting in a classroom or a lavatory.

       198. Cellular telephone technology, as suggested above, gives the user

access to disseminate data, video, photographs, and information to hundreds of

people in just the simple touch of a button in the palm of your hand.

       199. With that power comes great access to act negligently, carelessly, and/or

recklessly causing harm to others.

       200. Specifically in this case cellular telephones provided to the minor

Defendants, allowed them to act negligently, carelessly, and recklessly causing harm

to Plaintiff, JH.

       201. Parents must realize that minors often do not realize the consequences

of their actions and when armed with a handheld computer, the ability to act

negligently, carelessly, and/or recklessly and cause harm to others is vast with no

ability to retract the damage that can be done.

       202. Chris and Sandi Mills are the parents and natural guardians of CM and

were the owners and in dominion and control of the cellular telephone and the

cellular service plan used by CM to disseminate the video in question to other

students.


                                          46
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 47 of 55




      203. That cellular telephone was utilized by CM to commit negligent,

careless, and reckless acts against Plaintiff, JH causing him harm and damages.

      204. Greg and Lindsay Hunt are the parents and natural guardians of MH

and were the owners and in dominion and control of the cellular telephone and the

cellular service plan used by MH to disseminate the video in question to other

students, specifically through the application Snapchat.

      205. That cellular telephone was utilized by MH to commit negligent,

careless and reckless acts against Plaintiff, JH, causing him harm and damages.

      206. Frank and Jolane Sottile are the parents and natural guardians of LS and

were the owners and in dominion and control of the cellular telephone and the

cellular service plan used by LS to create the video of Plaintiff, JH and to disseminate

the video in question to other students.

      207. LS utilized that cellular telephone to commit negligent, careless, and

reckless acts against Plaintiff, JH, causing him harm and damages.

      208.    Greg and Nicole Wolff are the parents and natural guardians of JW and

were the owners and in dominion and control of the cellular telephone and the

cellular service plan used by JW to disseminate the video in question to other

students.

      209. JS utilized that cellular telephone to commit negligent, careless, and

reckless acts against Plaintiff, JH, causing him harm and damages.


                                           47
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 48 of 55




      210. Frank and Michelle Cantafio are the parents and natural guardians of

CC and were the owners and in dominion and control of the cellular telephone and

the cellular service plan used by CC to receive and disseminate the video in question

to other students.

      211. CC utilized that cellular telephone to commit negligent, careless, and

reckless acts against Plaintiff, JH, causing him harm and damages.

      212. All of the parents listed in this Count are being sued in their individual

capacity with respect to the negligent entrustment claim.

      213. The Parent Defendants knew or should have known that their children

could likely use their cellular phones in a manner that may unreasonably harm

others, specifically in this case Plaintiff JH.

      214. Parent Defendants were negligent in entrusting their minor children

with cellular telephones as follows:

             a. Failing to monitor their child’s cellular telephone usage as to the use

                 of applications and recording of others;

             b. Failing to utilize parental controls to ensure that their minor children

                 were not engaged in negligent, careless, or reckless activities

                 utilizing the cellular telephones;

             c. Providing unrestricted sharing and access, either via cell phone

                 signal or internet access, to their minor children’s cellular telephones


                                            48
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 49 of 55




                 during school hours in violation of Dunmore’s Student Handbook;

                 and

             d. Failing to block applications that allow children to share or engage

                 in publicly sharing or receiving pornographic material.

      215. Defendants Parents’ negligent entrustment of the cellular telephones

was a direct and proximate cause of Plaintiff, JH’s harm, and damages.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

Defendants, Chris Mills, Sandi Mills, Greg Hunt, Lindsay Hunt, Frank Sottile,

Jolane Sottile, Greg Wolff, Nicole Wolff, Frank Cantafio and Michelle Cantafio,

with an award of compensatory damages, interest, costs of suit, plus punitive

damages, and such other relief as the Court deems necessary and appropriate.


                                COUNT XII
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
           Plaintiffs, David Humphreys and Bridget Humphreys,
              as parents and Natural Guardians of Minor, JH v.
    Timothy Hopkins, Chris Mills and Sandi Mills, as parents and natural
   guardians of CM; Greg Hunt and Lindsay Hunt, as parents and natural
  guardians of MH; Frank Sottile and Jolane Sottile as parents and natural
   guardians of LS; Greg Wolff and Nicole Wolff and parents and natural
 guardians of JW and; Frank Cantafio and Michelle Cantafio, as parents and
                           natural guardians of CC

      216. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      217. The conduct of Defendants CM, MH, LS, JW, and CC, as set forth



                                         49
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 50 of 55




above, including the production and dissemination of the video in question,

constituted outrageous conduct utterly intolerable in a civilized society, and that

conduct led to severe emotional distress for the Plaintiff.

        218. Defendant Hopkins, in failing to appropriately investigate the

allegations of the video in question, intentionally, recklessly, and/or deliberately

inflicted extreme emotional distress upon Plaintiff by his failure to take action with

respect to stopping the dissemination of the video and removing those responsible

from JH’s education setting.

        219. Named Defendants are therefore liable to Plaintiff for intentional

infliction of emotional distress.

      WHEREFORE, the Plaintiffs demand judgment be entered against, Timothy

Hopkins, Chris Mills and Sandi Mills, as parents and natural guardians of CM; Greg

Hunt and Lindsay Hunt, as parents and natural guardians of MH; Frank Sottile and

Jolane Sottile as parents and natural guardians of LS; Greg Wolff and Nicole Wolff

and parents and natural guardians of JW and; Frank Cantafio and Michelle Cantafio,

as parents and natural guardians of CC, jointly and severally, with an award of

compensatory damages, interest, costs of suit, plus punitive damages, and such other

relief as the Court deems necessary and appropriate.




                                          50
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 51 of 55




                                  COUNT XIII
                              PUNITIVE DAMAGES
              Plaintiffs, David Humphreys and Bridget Humphreys,
                as parents and Natural Guardians of Minor, JH v.
                                  All Defendants

      220. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      221. The aforementioned conduct of the Defendants was outrageous and/or

done willfully, wantonly, and/or with reckless indifference to the rights of JH.

      222. Defendants Dunmore and Hopkins knew their acts to conceal the

known dissemination of an unlawfully obtained pornographic video by minor

Defendants and to not fully investigate, remove the students involved or take action

to protect JH from further harm, created an unreasonable risk that incidents similar

to this would continue to occur.

      223. Nevertheless, Dunmore and Hopkins continuous and systematic

conduct, was intentional and malicious, and thereby exhibited reckless indifference

to the rights, safety and well-being of students who receive special education,

including JH.

      224. Minor Defendant’s actions were outrageous and/or done willfully,

wantonly, and/or with reckless indifference to the harm it would cause to JH.




                                         51
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 52 of 55




      225. Defendants, all of them in their own right, and with full knowledge of

the risk of harm to JH, outrageously, maliciously, wantonly, and willfully caused the

harm and damages to JH.

      226. Additionally, Defendants Dunmore and Hopkins, upon knowledge of

the existence of the video, deliberately failed to report said abuse as required under

Pennsylvania’s Child Protective Services Law, 23 Pa.C.S.A. Section 6302, et. seq.,

in conscious disregard of the aforementioned risk of harm to their students, including

JH.

      227. As a direct and proximate result of the reckless, outrageous, wanton,

willful and malicious conduct of Defendants, JH has incurred damages.

      228. As a direct and proximate result of Defendants’ reckless, outrageous,

wanton, willful and malicious conduct, JH has suffered a loss of life’s pleasures.

      229. The conduct of the Defendants was extreme and outrageous conduct,

which conduct was committed in willful, wanton, reckless, and in total disregard to

the rights, safety and well-being of JH entitling Plaintiffs to an award of punitive

damages, and claim is made, therefore.

      WHEREFORE, Plaintiffs demand the entry of judgment in their favor against

all Defendants, jointly and severally, with an award of compensatory damages,

interest, costs of suit, plus punitive damages, and such other relief as the Court deems

necessary and appropriate.


                                          52
        Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 53 of 55




                                  COUNT XIV
                          DEMAND FOR ATTORNEY’S FEES

      230. The preceding paragraphs are incorporated herein by reference as if

fully set forth here at length.

      231. Statutes raised in Counts IV and V of this Complaint contain fee

shifting provisions.

      232. Given the likelihood of success of these claims, Plaintiffs seek full

reimbursement for fees and costs associated with this present litigation under

Section 504 in the ADA.

      233. Plaintiffs reserve the right to amend and submit their invoices

regarding attorneys’ fees and costs associated with litigation relating to this matter

through a subsequent fee petition, if necessary.

      WHEREFORE, Plaintiffs respectfully request this Honorable Court award

judgment to the Plaintiffs respectfully request this Honorable Court award

judgment to the Plaintiffs and against defendant, Dunmore School District, for

reasonable attorney’s fees and costs under Section 504 and ADA.

                                  RELIEF REQUESTED

       WHEREFORE, Plaintiffs seek monetary damages and reasonable attorney's fees

and costs under Section 504, ADA and Pennsylvania law, inter alia, from the

Defendants, including the following:

      1.     Assume jurisdiction over this action;

                                          53
         Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 54 of 55




        2.    Enter Judgment for an award of damages pertaining to educational and

emotional harm associated with the Defendants' conduct as described in the Complaint

against the Defendants

        3.    Order appropriate monetary relief, and declare the Defendants' to be in

violation of Section 504, the ADA, Section 1988 and other Federal and Pennsylvania

laws;

        4.    Order the Defendants to compensate Plaintiffs for the reasonable

attorney's fees and related costs associated with the present litigation, pursuant to Section

504, ADA, Section 1988 and other Federal Laws.

        5.    Award compensatory damages to Plaintiff Student and Plaintiffs for

Student's injuries, pain, and suffering, both past, present, and future as well as punitive

damages;

        6.    Order to change the policy, practice and customs regarding disability

discrimination described herein;

        7.    Grant such other relief as this Court deems proper.

                               JURY TRIAL DEMAND
        Plaintiff demands a jury trial, pursuant to the Seventh Amendment to the

Constitution of the United States, as to all claims for damages.




                                             54
Case 3:24-cv-01154-JKM Document 1 Filed 07/12/24 Page 55 of 55




                                   Respectfully submitted:

                                   THE MATTIOLI LAW FIRM

                                   By:   /s/ Jason J. Mattioli
                                         Jason J. Mattioli, Esquire
                                         Jaylaw344@yahoo.com
                                         Pa. ID: 88766

                                         /s/ Michael J. Ossont
                                         Michael J. Ossont, Esquire
                                         Mjossont.mlf@gmail.com
                                         Pa. I.D.: 310437
                                         425 Biden Street, Ste 300
                                         Scranton, PA 18503
                                         Attorneys for the Plaintiffs




                              55
